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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                CINCINNATI DIVISION


HUNTER DOSTER, et al.,

        Plaintiffs,
v.                                                                  No. 1:22-cv-00084
                                                                Hon. Matthew W. McFarland
FRANK KENDALL, et al. ,
        Defendants.



     DEFENDANTS’ REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO STAY

        Defendants filed their motion to stay on May 14, 2024. ECF No. 134. Plaintiffs filed their

response on May 23, 2024. ECF No. 135. Defendants do not intend to file a reply and stand on

their motion.

        Accordingly, for the reasons stated in their original motion, Defendants respectfully request

that this Court stay briefing on attorneys’ fees, including Defendants’ deadline to respond to

Plaintiffs’ motion for fees, until after the resolution of Plaintiffs’ appeal and the Supreme Court’s

resolution in Lackey v. Stinnie, No. 23-621 (2024). Alternatively, if the Court is not inclined to grant a

stay, Defendants respectfully request that the Court grant Defendants an extension of twenty-one

days from the date of this Court’s order denying the stay to respond to Plaintiffs’ motion for fees. 1

Absent a stay or the requested extension, Defendants’ response to Plaintiffs’ motion for fees would

be due on May 29, 2024.




        1
         Plaintiffs’ opposition does not provide any argument in opposition to this alternative
request. See generally ECF No. 135.
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Dated: May 23, 2024                 Respectfully submitted,

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                                    /s/ Cassandra M. Snyder
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on May 23, 2024, I electronically filed the foregoing paper with the

Clerk of Court using this Court’s CM/ECF system, which will notify all counsel of record of such

filing.



                                                   /s/ Cassandra M. Snyder
                                                   Cassandra M. Snyder
